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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                                                      CASE NO.: 1:19-CV-24542-MGC

  EDUARDO HERNANDO, an individual

           Plaintiff,

  vs.

  BMW FINANCIAL SERVICES NA, LLC,
  a Florida limited liability company,

           Defendant.
                                            /

               RULE 7.1 CORPORATE DISCLOSURE STATEMENT BY DEFENDANT
                            BMW FINANCIAL SERVICES NA, LLC

           Defendant, BMW FINANCIAL SERVICES NA, LLC, a Florida limited liability

  company, by and through its attorneys, Saul Ewing Arnstein & Lehr, hereby submits this

  Corporate Disclosure Statement pursuant to Federal Rule of Civil Procedure 7.1 and states the

  following:

           Defendant BMW Financial Services NA, LLC is a wholly owned subsidiary of BMW of

  North America, LLC.

  Dated: December 23, 2019.                      Respectfully submitted,

                                                 /s/ Abbigail E. Webb
                                                 ABBIGAIL E. WEBB
                                                 Florida Bar No. 086985
                                                 SAUL EWING ARNSTEIN & LEHR LLP
                                                 Attorneys for Defendant BMW Financial
                                                 Services NA, LLC
                                                 200 S. Biscayne Blvd., Suite 3600
                                                 Miami, Florida 33131
                                                 Telephone: 305-374-3330
                                                 E-Mail: Abbigail.Webb@saul.com




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                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was filed and served

  with the Clerk through the Southern District’s CM/ECF on December 23, 2019 to: EDUARDO

  HERNANDO, Plaintiff (Pro Se), at Eduardo@HernandoGroup.com, who filed a Consent to

  Receive Notices of Electronic Filing.


                                                    /s/ Abbigail E. Webb
                                                    ABBIGAIL E. WEBB




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